              Case 23-15483-LMI       Doc 185     Filed 05/06/24    Page 1 of 5




                      UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF FLORIDA
                               MAIMI DIVISION

 IN RE:                                       CASE NO. 23-15483-LMI

 ATLANTIC RADIO TELEPHONE, INC.,              CHAPTER 11

       Debtor.



                           NOTICE OF FILING
                  SCHEDULE OF EXECUTORY CONTRACTS
           AND UNEXPIRED LEASES AND ESTIMATED CURE AMOUNTS

       PLEASE TAKE NOTICE that ATLANTIC RADIO TELEPHONE, INC., by and through

undersigned counsel, hereby files the Schedule of Executory Contracts and Unexpired Leases, and

Estimated Cure Amounts (the “Schedule”). The attached schedule is filed in accordance with the

“Bid Procedures” approved by the Court’s Order (I) Approving (A) Stalking Horse Bid; (B)

Break-Up Fee; (C) Form of Asset Purchase Agreement; (D) Procedures Governing Assumption

and Assignment of Executory Contracts and Unexpired Leases; (E) Bid Procedures; (F) Form

and Manner of Notice; and (II) Scheduling Sale Hearing; [ECF No. 179].

DATED: May 6, 2024.

                                           SEESE, P.A.
                                           101 N.E. 3rd Avenue
                                           Suite 1500
                                           Fort Lauderdale, Florida 33301
                                           Telephone No.: (954) 745-5897
                                           mseese@seeselaw.com

                                           By: _____s/Michael D. Seese
                                                  Michael D. Seese, Esq.
                                                  Fla. Bar No. 997323

                                           Attorneys for Debtor-in-Possession
              Case 23-15483-LMI       Doc 185     Filed 05/06/24   Page 2 of 5




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Notice has been

served electronically via CM/ECF upon all parties entitled to receive electronic notice on the

date filed.

                                                  /s/ Michael D. Seese, Esq.
                                                          Michael D. Seese
                                                          (FBN 997323)




                                              2
                               SCHEDULE OF EXECUTORY CONTRACTS
                        AND UNEXPIRED LEASES AND ESTIMATED CURE AMOUNTS


 Name of Counterparty               Type of Agreement           Estimated Amount to Cure
                                                                 (Pre- and Post-Petition)


         AT&T                             Internet                        $0.00
    One AT&T Way
Bedminster, NJ 07921-0752
                                                                                                Case 23-15483-LMI




    Digital Skies, LLC                Airtime Billing                   $6,765.00
 4611 S. University Drive
           #454
Fort Lauderdale, FL 33328
                                                                                                Doc 185




    Furuno USA, Inc.                    Equipment                      $133,454.28
4400 NW Pacific Rim Blvd
   Camas, WA 98607
                                                                                                Filed 05/06/24




       Hologram                       Cellular Airtime                    $0.00
 2045 W. Grand Avenue
   Chicago, IL 60612
                                                                                                Page 3 of 5




   Icom America, Inc.                   Equipment                      $23,814.48
 12421 Willows Road NE
   Kirkland, WA 98034




                                                                                            1
 Inmarsat Solutions US, Inc.          Satellite Airtime          $22,798.19 (pre-)
   2598 E. Sunrise Blvd.                                         $4,105.42 (post-)
        Suite 210A
 Fort Lauderdale, FL 33304


   Iridium Satellite, LLC      Equipment and Airtime Services   $920,067.03 (pre-)
     1750 Tysons Blvd.                                          $203,427.22 (post-)
         Suite 1400
    McLean, VA 22101
                                                                                           Case 23-15483-LMI




   KVH Industries, Inc.        Hardware and Airtime Services     $97,026.84 (pre-)
   50 Enterprise Center                                          $36,959.25 (post-)
   Middletown, RI 02842
                                                                                           Doc 185




       Marlink, Inc.                  Satellite Airtime          $28,777.87 (pre-)
 3327 Sam Houston Pkwy E                                         $14,087.83 (post-)
    Houston, TX 77047

        Marlink, Inc.
3327 S. Sam Houston Pkwy E
                                                                                           Filed 05/06/24




    Houston, TX 77047


Network Innovations US, Inc.   Hardware and Airtime Services    $1,326,738.25 (pre-)
 c/o Eric N. Assouline, Esq.                                    $318,423.13 (post-)
 Assouline & Berlowe, P.A.
                                                                                           Page 4 of 5




     100 S.E. 2nd Street
         Suite 3105
      Miami, FL 33131




                                                                                       2
          Oracle America, Inc.                                Netsuite Software                                        $25,928.44 (pre-)
    c/o Shawn M. Christianson, Esq.                                                                                    $33,173.78 (post-)
             Buchalter PC
           425 Market Street
               Suite 2900
        San Francisco, CA 94105


         Remote Data Sensing, LLC                             VMS Equipment                                                $1,200.00
            2668 Jericho Road
           Maryville, TN 37803
                                                                                                                                                                    Case 23-15483-LMI




             Ring Central, Inc.                                 Phone System                                                  $0.00
              20 Davis Drive
            Belmont, CA 94002
                                                                                                                                                                    Doc 185




               Viasat, Inc.                                   Airtime Services                                             $22,056.33
           6155 El Camino Real
           Carlsbad, CA 92009
                                                                                                                                                                    Filed 05/06/24




            Customer Contracts                                Satellite Airtime                                               $0.00


Notes:

    1.   The Debtor reserves the right to amend this Schedule, including, without limitation, (a) removing any agreement on the basis that such agreement is not
         an executory contract or unexpired lease, or (b) amending any amount disclosed herein.
                                                                                                                                                                    Page 5 of 5




    2.   The Debtor reserves and does not waive any claim, objection, or right of offset with respect to any agreement included on this Schedule.

    3.   Customer contracts may not be executory contracts. Nothing contained herein is either intended or should be construed as an admission by the Debtor that
         any such agreement is an executory contract.


                                                                                                                                                               3
